     Case 2:19-cv-05199-GRB-LGD              Document 59     Filed 12/04/24     Page 1 of 1 PageID #:
                                                   431



                                UNITED STATES COURT OF APPEALS
                                            FOR THE
                                        SECOND CIRCUIT
                                        _________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      4th day of December, two thousand twenty-four,

      Before:     Dennis Jacobs,
                  Myrna Pérez,
                  Maria Araújo Kahn,
                         Circuit Judges.
      __________________________________

       Elijah Schimkewitsch,
                                                            STATEMENT OF COSTS
                    Plaintiff - Appellant,
                                                            Docket No. 23-1022
       v.

       New York Institute of Technology,

                 Defendant - Appellee.
      ___________________________________


             IT IS HEREBY ORDERED that costs are taxed in the amount of $1,279.60 in favor of
      the Appellant.


                                                           For the Court:
                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




CERTIFIED COPY ISSUED ON 12/04/2024
